                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION
                                    2:11MJ22

UNITED STATES OF AMERICA                  )
                                          )
      V.                                  )                    ORDER
                                          )
NICHOLAS SCOTT HINKEY,                    )
DAVID WAYNE WILSON,                       )
                                          )
            Defendants.                   )
                                          )
_________________________________________ )

       Pending before the Court is Defendant Wilson’s Motion to Dismiss [# 19].

The Court DIRECTS the Government and counsel for both Defendants to appear

for a hearing on the Motion to Dismiss on April 5, 2012, at 2:00 p.m. in Courtroom

2 of the United States District Court for the Western District of North Carolina,

Asheville Division, 100 Otis Street, Asheville, North Carolina. At the hearing, the

Court will address Defendant Wilson’s Motion to Dismiss [# 19].



                                             Signed: March 26, 2012




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